







PER CURIAM HEADING









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO.
12-06-00150-CV

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IN THE COURT OF APPEALS 

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TWELFTH COURT OF APPEALS DISTRICT

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TYLER, TEXAS

THE STATE OF TEXAS FOR&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 

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THE BEST INTEREST AND&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COUNTY COURT AT LAW

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PROTECTION OF C.F.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CHEROKEE
COUNTY, TEXAS

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MEMORANDUM OPINION

PER CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal
is being dismissed for Appellant’s failure to comply with the Texas Rules of
Appellate Procedure.&nbsp; See Tex. R. App. P. 42.3.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s
docketing statement was due to have been filed at the time the appeal was
perfected, i.e., May 2, 2006.&nbsp; See Tex. R. App. P. 32.1.&nbsp; On May 4, 2006, this court notified
Appellant that he should file a docketing statement immediately if he had not
already done so.&nbsp; However, Appellant
failed to file a docketing statement.








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On May 19,
2006, this court issued a second notice advising Appellant that the docketing
statement was past due and giving him until May 30, 2006 to comply with Rule
32.1.&nbsp; The notice further provided that
failure to comply with this second notice would result in the appeal being
presented for dismissal in accordance with Rule 42.3.&nbsp; The deadline for filing the docketing
statement under this second notice has now passed, and Appellant has not filed
the docketing statement as required by Rule 32.1 and the Court’s notices.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
Appellant has failed, after notice, to comply with Rules 25.1(e) and 32.1, the
appeal is dismissed.&nbsp; See
Tex. R. App. P.&nbsp; 42.3(c).

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion delivered June 7, 2006.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Panel consisted of Worthen, C.J., Griffith, J.,
and DeVasto, J.

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(PUBLISH)





